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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


DONTRICE WARREN,
                                                 Civil Action No.
       Plaintiff,

vs.                                              COMPLAINT AND DEMAND FOR
                                                 JURY TRIAL
GC SERVICES, LP; and DOES 1
through 10, inclusive,

       Defendants.



                                          COMPLAINT

                                     I.      INTRODUCTION

       I. This is an action for actual and statutory damages brought by Plaintiff, Dontrice

Warren, an individual consumer, against Defendant, GC Services, LP, for violations of the law,

including, but not limited to, violations of the Fair Debt Collection Practices Act, 15 U.S.c. §

1692 et seq. (hereinafter "FDCPA"), which prohibits debt collectors from engaging in abusive,

deceptive, and unfair practices.

                                    II.     JURISDICTION

       2. Jurisdiction of this court arises under IS U.S.C. § I 692k(d) and 28 U.S.C. § 1337 and

§ 1331. Venue in this District is proper in that the Defendant transacts business here and the

conduct complained of occurred here.

                                          III.     PARTIES

       3. Plaintiff, Dontrice Warren, is a natural person with a permanent residence in Houston,

Harris County, Texas 77035.



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       4. Upon information and belief, the Defendant, GC Services, LP, is a corporation

engaged in the business of collecting debt in this state and in several other states, with its

principal place of business located at 6330 Gulfton St, Suite 300, Houston, Harris County, Texas

770S1. The principal purpose of Defendant is the collection of debts in this state and several

other states, and Defendant regularly attempts to collect debts alleged to be due another.

       5. Defendant is engaged in the collection of debts from consumers using the mail and

telephone. Defendant regularly attempts to collect consumer debts alleged to be due to another.

Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. § 1692a(6).

                              IV.     FACTUAL ALLEGATIONS

       6. The debt that Defendant is attempting to collect on is an alleged obligation of a

consumer to pay money arising out of a transaction in which the money, property, insurance or

services which are the subject of the transaction are primarily for personal, family, or household

purposes, whether or not such obligation has been reduced to judgment.

        7. Within one (I) year preceding the date of this Complaint, Defendant, in connection

with the collection of the alleged debt, attempted to communicate with Plaintiff at their place of

employment after being informed that this inconvenienced Plaintiff andlor was conduct

prohibited by Plaintiff's employer.

       S. The natural consequences of Defendant's statements and actions were to unjustly

condemn and vilify Plaintifffor her non-payment ofthe debt she allegedly owed.

        9. The natural consequences of Defendant's statements and actions were to produce an

unpleasant andlor hostile situation between Defendant and Plaintiff.

        10. The natural consequences of Defendant's statements and actions were to cause

Plaintiff mental distress.



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        11. Defendant utilized unfair and unconscionable means to collect on Plaintiff s alleged

debt, by attempted to communicate with Plaintiff at their place of employment after being

infonned that this inconvenienced Plaintiff and/or was conduct prohibited by Plaintiffs

employer.

                                   V.      CAUSES OF ACTION

                                              COUNT I

              VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                        15 U.S.c. § 1692 et seq.

        12.    Plaintiff repeats and realleges and incorporates by reference to the foregoing

paragraphs.

        13. Defendants violated the FDCPA. Defendants' violations include, but are not limited

to, the following:

                (a) Defendant violated §1692c(a)(l) of the FDCPA by communicating at a time

                     or place known or which should be known to be inconvenient to the Plaintiff;

                     and

                (b) Defendant violated §1692c(a)(3) of the FDCPA by communicating with the

                     Plaintiff at the Plaintiffs place of employment when the Defendant knew or

                     had reason to know that the Plaintiffs employer prohibits the Plaintiff from

                     receiving such communication; and

                (c) Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                     consequences of which is to harass, oppress, or abuse any person in

                     connection with the collection of an alleged debt; and




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               (d) Defendant violated §1692jofthe FDCPA by using unfair or unconscionable

                   means in connection with the collection of an alleged debt.


       14. Defendant's acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.

       15. As a result of the foregoing violations of the FDCP A, Defendant is liable to the

Plaintiff, Dontrice Warren, for declaratory judgment that Defendant's conduct violated the

FDCPA, actual damages, statutory damages, and costs and attorney fees.

                                              COUNT II

          VIOLATIONS OF THE TEXAS DEBT COLLECTION PRACTICES ACT

                                              TDCPA§392

       16. Plaintiff repeats, realleges, and incorporates by reference all of the above paragraphs

ofthis Complaint as though fully stated herein.

        17. Plaintiff repeats and realleges and incorporates by reference the foregoing

paragraphs.

        18. Defendant violated TDCPA § 392. Defendant's violations ofTDCPA § 392 include,

but are not limited to the following:

           (a) Defendant violated TDCPA § 392.302(4) by causing a telephone to ring

               repeatedly or continuously, or making repeated or continuous telephone calls with

               the intent to harass a person at the called number; and

           (b) Defendant violated TDCPA § 392.304(19) by using any other false representation

               or deceptive means to collect on the alleged debt or obtain information concerning

               Plaintiff.




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       19. Defendants' acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.

       20. As a result of the foregoing violations of the TDCPA, Defendant is liable to the

Plaintiff for actual damages, statutory damages, attorney's fees, interests and costs, as a result of

a violation of the TDCP A.

                                  VI.    PRAYER FOR RELIEF

   WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant,

GC Services, LP, for the following:

    A. Declaratory judgment that Defendant's conduct violated the FDCPA and TDCP A.

   B. Actual damages.

   C. Statutory damages pursuant to 15 U.S.C. § 1692k and the TDCPA.

   D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

    E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be allowed under

       the law.

    F. For such other and further relief as the Court may deem just and proper.

DATED: April 04, 2013                         RESPECTFULLY SUBMITTED,

                                              By: lsi Kimberly A. Lucas
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                                DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that Plaintiff Dontrice Warren demands trial by jury in this

action on all issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.




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